           Case 2:11-cr-00419-TLN Document 63 Filed 08/19/13 Page 1 of 3


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     A Professional Law Corp.
 2   428 J Street, Suite 359
     Sacramento, California 95814
 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     Saravy Yem
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,       )     No. 2:11-CR-419 TLN
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER VACATING
13        v.                         )     DATE, CONTINUING CASE, AND
                                     )     EXCLUDING TIME
14   SARAVY YEM,                     )
     ANGEL PANTOJA-LOPEZ,            )
15                  Defendants.      )     Date: October 24, 2013
                                     )     Time: 9:30 a.m.
16   _______________________________ )     Judge: Hon. Nunley
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney Robert Matthew Morris, Counsel for Plaintiff, and Attorney
20   Dina L. Santos, Counsel for Defendant SARAVY YEM; AND Attorney Doug
21   Beevers, Counsel for ANGEL PANTOJA-LOPEZ, that the status conference
22   scheduled for August 22, 2013, be vacated and the matter be continued
23   to this Court's criminal calendar on October 24, 2013 at 9:30 a.m, for
24   a further status conference.
25        This continuance is requested by the defense for client
26   consultation, investigation and negotiations between the prosecution
27   and defense regarding settlement. There are over 20 disks of
28   surveillance in this case and the amount of loss is difficult to
             Case 2:11-cr-00419-TLN Document 63 Filed 08/19/13 Page 2 of 3


 1   assess.   Attorney Doug Beevers is new to this case and will need time
 2   to review discovery.      All counsel therefore seek additional preparation
 3   time and time to negotiate a possible settlement.
 4         IT IS FURTHER STIPULATED that time for trial under the Speedy
 5   Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
 6   3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
 7   ends of justice served in granting the continuance and allowing the
 8   defendant further time to prepare outweigh the best interests of the
 9   public and the defendant in a speedy trial.
10         The Court is advised that Ms. Santos has conferred with all
11   Counsel in this matter and that they have agreed to the October 24,
12   2013, date, and that all Counsel have authorized Ms. Santos to sign
13   this stipulation on their behalf.
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16
17   IT IS SO STIPULATED.
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19   Dated: Aug. 16, 2013                      /S/ Dina L. Santos
                                              DINA L. SANTOS
20                                            Attorney for Defendant
                                              Saravy Yem
21
     Dated: Aug. 16, 2013                     /S/ Doug Beevers
22                                           DOUG BEEVERS
                                             Attorney for Defendant
23                                           Angel Pantoja-Lopez
24
     Dated: Aug. 16, 2013                     /S/ Matthew Morris
25                                           MATTHEW MORRIS
                                             Assistant United States Attorney
26                                           Attorney for Plaintiff
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     Stipulation and Order                    2
             Case 2:11-cr-00419-TLN Document 63 Filed 08/19/13 Page 3 of 3


 1
 2                                       O R D E R
 3        IT IS SO ORDERED.
 4                    By the Court,
 5
 6   Dated: August 19, 2013
                                                     Troy L. Nunley
 7                                                   United States District Judge
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     Stipulation and Order                    3
